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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                  Plaintiff,

                                                            DECISION AND ORDER
             v.                                                 19-CR-125-A

DUANE PITTS,
                                  Defendant.



      This case was referred to Magistrate Judge Jeremiah J. McCarthy pursuant to 28

U.S.C. § 636(b)(1) for the conduct of pretrial proceedings. On February 18, 2020, the

Magistrate Judge filed a Report, Recommendation and Order (Dkt. No. 244) that

recommends that defendant Duane Pitts’ motions to dismiss Counts 1 and 2 of the

Superseding Indictment (Dkt. No. 108) be denied. No objections to the Report and

Recommendation were filed and the Report and Recommendation was therefore

deemed submitted March 4, 2020.

      Upon review pursuant to 28 U.S.C. §636(b)(1), and for the reasons set forth in

the Report and Recommendation, it is

      ORDERED that the motions to dismiss Counts 1 and 2 of the Superseding

Indictment (Dkt. No. 108) are denied for the reasons stated in the Report and

Recommendation (Dkt. No. 244).

      Defendant Pitts remains joined for trial with co-defendants who have

pretrial motions pending. The trial will be scheduled upon the completion of the pretrial
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proceedings.

      IT IS SO ORDERED.


                                   ___s/Richard J. Arcara__________
                                   HONORABLE RICHARD J. ARCARA
                                   UNITED STATES DISTRICT COURT

Dated: April 3, 2020
